          Case:19-15473-KHT Doc#:73 Filed:09/12/19                   Entered:09/12/19 16:45:24 Page1 of 1
                   UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF COLORADO
                                                   Minutes of Proceeding


Date:     September 12, 2019                                           HONORABLE KIMBERLEY H. TYSON, Presiding


 In re:     Cheyenne Hotel Investments, LLC,                                  Debtor.             Case No: 19-15473-KHT
                                                                                                               Chapter 11

Appearances:
 Debtor                                                          Counsel      Thomas F. Quinn
 Creditor         Hilton Franchise Holding, LLC                  Counsel      Debra Dandeneau, Theodore J. Hartl
 Creditor                                                        Counsel
 Creditor                                                        Counsel
 Creditor                                                        Counsel

Proceedings:     Preliminary Hearing on the Motion For Entry of an Order Permitting Hilton and Certain Third Party
                 Vendors to Take the Non-Debtor De-Identification Actions, or in the alternative Motion for Relief from
                 Stay (docket #65), filed by Hilton Franchise Holding, LLC, and the Response thereto (docket #68), filed
                 by Debtor.

 [X] Evidentiary Hearing         [] Non-Evidentiary Hearing

 [ ] Witnesses Sworn             [ ] See List Attached           [ ] Exhibits Admitted          [ ] See List Attached

 [X]       The parties presented offers of proof and argument.


Orders:

 [X]        For the reasons stated on the record, the Court will grant the Motion by separate order.



Date:     September 12, 2019                                       FOR THE COURT:
                                                                   Kenneth S. Gardner, Clerk of the Bankruptcy Court


                                                                   By: s/ K. Lane Cutler
                                                                         Law Clerk
